
PER CURIAM.
Affirmed. Appellant’s argument upon the first point on appeal is not persuasive. As for the second point on appeal, although neither party called to our attention the trial court’s statement at sentencing that it had ordered, received and reviewed a PSI, our search of the record reveals such. The trial court’s consideration of the PSI satisfied section 921.001(5), Florida Statutes (1991), which, under the facts of this case, required due consideration of the criteria set out in section 921.005(1). See Mancini v. State, 593 So.2d 1122, 1124 (Fla. 4th DCA 1992).
GLICKSTEIN and STONE, JJ., concur.
ANSTEAD, J., dissents with opinion.
